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                                    IINITED STATES DISTRIÇT COURT
                                                     \
                                           DISTRICT OF OREGON

                                                      Portland


  ALEXANDREA CROMV/ELL,                                                                 CV. 3:17-cv-01419-YY

                                           Plaintiff,
                                                                    STIPULATED MOTION FOR
              v.                                                    GENERAL JUDGMENT OF
                                                                    DISMISSAL WITH PREJUDICE
  TINIVERSITY CLUB, a domestic nonprofit
  corporation; JOSH WILCOX, an individual; &
  TOM PENN, an individual,

                                        Defendants.


              Pursuant   to Federal Rule of Civil Procedurç 4l(a)(lxii), the parties move the court for
  dismissal of the above-referenced case with prejudice and without costs or fees to any party.




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       Page   I * S'ilPULAï'ED MOTION FOR GENERAL JUDGMENT OF DISMISSAL WITH
       PREJIJDICE
                                                    BARRAN LIÊÐM¡tN ¡.rp
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             Case 3:17-cv-01419-YY   Document 29                 Filed 08/21/18   Page 2 of 3




  IT IS SO STIPULATED:


    PLAINTIFF                                        BARRAN LTEBMAN LLP



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                 Case 3:17-cv-01419-YY     Document 29                  Filed 08/21/18   Page 3 of 3




                                     CERTIFICATE OF SERVICE

             I   hereby certify that on the   Qffday of August, 2018, I                  served the foregoing

  STIPULATED MOTION F'OR GENERAL JUDGMENT OF DISMISSAL WITH
  PREJUDICE on the following party        at the   following address:

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  by the following indicated method(s) set forth below:

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    Page 1 - CERTIFICATE OF SERVICE

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